                           2:18-mj-07130-EIL # 1
  A0106 (Rev 12/•3\ Affidavit for Search Warrant
                                                                        Page 1 of 30                                                                       E-FILED
                                                                                                                            Tuesday, 17 July, 2018 03:29:56 PM
                                              UNITED STATES DISTRICT COURT
                                                                                                                                        FILED
                                                                                                                                 Clerk, U.S. District Court, ILCD

 CENTRAL
                                                                             DISTRICT OF
                                                                                                          ILLINOIS                               JUL 11 2018
                                                                                                                                      WRK OF THE COURT
                In the Matter of the Search of
                                                                                                                                  CENTRAL        gism,cT
                                                                                                                                                COURT
(Name, address or brief description of person, property or premises to be searched)                 APPLICATION AND AFFiri~\3/ff OF ILLINO/S
 INFORMATION ASSOCIATED WITH Evernote account                                                       FOR SEARCH WARRANT
 associated with Stephan4096@gmail.com
 THAT IS STORED AT PREMISES CONTROLLED BY
 Evernote Corporation.                                                                              Case Number: 18-MJ-             11 .:3{;)


        1,T
          __
           o_D_D_M_._E_M_E_R_Y
                             _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ being duly sworn depose and say:
        I am a(n) Special Agent for the Drug Enforcement Administration                                                            and have reason to believe
                                                                      Official Title
 that Don the person of or          !Zion the property or premises known as (name, description and/or location)
 INFORMATION ASSOCIATED WITH Evernote account associated with Stephan4096@gmail.com
 THAT IS STORED AT PREMISES CONTROLLED BY Evernote Corporation, more particularly described in Attachment A,
 which is attached hereto and specifically incorporated herein.

 in the      Northern                                                                 District of         California

 there is now concealed a certain person or property' namely (describe the person or property io be seized)
 See Attachment B, which is attached hereto and specifically incorporated herein.


 which is      (state one or more bases for search and seizure set forth under Rule 41(b) of the Federal Rules of Criminal Procedure)
fruits, contraband, evidence and instrumentalities.


 concerning a violation ofTitie2_1_ _ _ _ _ United States code, Section(s)                                                8_4_1...:.,_8_4_6_ _ _ _ _ _ _ _ __
 The facts to support a finding of probable cause are as follows:

See affidavit of Drug Enforcement Administration Special Agent Todd M. Emery, which is attached hereto and specifically
incorporated herein.




 Continued on the attached sheet and made a part hereof:




 Sworn to before me and subscribed in my presence,
                                                                                                ~---
                                                                                              12)   Yes
                                                                                                s/Todd M. Emery

                                                                                              Signat~nt
                                                                                                                  []No




July 17, 2018                                                                                Urbana                                             Illinois
                                                                                        at
 Date                                                                                                                                           State
                                                                                             s/Eric I. Long
ERIC I. LONG                                     Magistrate Judge
 Name of Judge                                    Title of Judge
            2:18-mj-07130-EIL # 1     Page 2 of 30



                      IN THE UNITED ST ATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF ILLINOIS

 IN THE MATTER OF THE SEARCH OF
 lNFORMATION ASSOCIATED WITH                               18-mj-7130
 Evernote account associated with
                                                Case No.
 Stephan4096@gmail.com
 THAT IS STORED AT PREMISES
 CONTROLLED BY Evernote
 Corporation.



                            AFFIDAVIT IN SUPPORT OF
                     AN APPLICATION FOR A SEARCH WARRANT

       I, Todd M. Emery being first duly sworn, hereby depose and state as follows:

                    INTRODUCTION AND AGENT BACKGROUND

       1.       I make this affidavit in support of an application for a search warrant for

information associated with a certain account that is stored at premises controlled by

Evernote Corporation, which is headquartered at 305 Walnut Street, Redwood City,

California 94063. Evernote is a mobile application for note taking, organizing, tasks

lists, and archiving, among other uses. The information to be searched is described in

the following paragraphs and in Attachment A. This affidavit is made in support of an

application for a search warrant under 18 U.S.C. §§ 2703(a), 2703(b)(l)(A) and

2703(c)(l)(A) to require Evernote Corporation to disclose to the government copies of

the information (including the content of communications) further described in Section

I of Attachment B. Upon receipt of the information described in Section I of Attachment

B, government-authorized persons will review that information to locate the items

described in Section II of Attachment B.
            2:18-mj-07130-EIL # 1    Page 3 of 30



       2.       I am a Special Agent with the Drug Enforcement Administration and have

been so employed for more than seven years. I have had extensive training in the

investigation of drug related crimes and the enforcement of federal laws concerning

controlled substances as found in Title 21 of the United States Code. Currently, I am

assigned to the DEA's Springfield, Illinois, Resident Office (SRO). I have investigated

illicit controlled substance trafficking, to include the importation, distribution,

manufacture and cultivation of illegal substances. I have personally conducted or

assisted in numerous investigations of state and federal criminal violations involving

the illegal trafficking of narcotics and related crimes. I have received specialized

training in various aspects of narcotics investigations, which includes but is not limited

to interviewing defendants and witnesses, surveillance techniques, and money

laundering. Prior to my assignment at SRO, I served as Technical Operations Agent to

the DEA Imperial, California, District Office for approximately five years where I

assisted agents in conducting cyber investigations, authored several search warrants to

technical enterprises such as Microsoft and Facebook, and handled operations for that

office's wire room to include assisting in routing data packets such as email content to

approved systems for agent investigations. I also served two years at the DEA's Office

of Special Intelligence, where I learned skillsets involving Virtual Private Networking

(VPN), IP configuration, and basic programming in several computer coding languages.

I have helped prepare numerous complaint and search warrant affidavits, participated

in the execution of search warrants, and testified at criminal trials during my

                                              2
            2:18-mj-07130-EIL # 1     Page 4 of 30



participation in drug investigations.

       3.       This affidavit is intended to show merely that there is sufficient probable

cause for the requested warrant and does not set forth all of my knowledge about this

matter.

       4.       Based on my training and experience and the facts as set forth in this

affidavit, there is probable cause to believe that violations of 21 U.S.C. §§ 841(a)(l) and

846, Distribution of a Controlled Substance and Attempt to Distribute a Controlled

Substance, have been committed by Stephan CAAMANO, of Champaign, Illinois,

utilizing the Evernote account associated with the email address

Stephan4096@gmail.com. There is also probable cause to search the information

described in Attachment A for evidence, instrumentalities, contraband, and/ or fruits of

these crimes further described in Attachment B.

                                      JURISDICTION

       5.      This Court has jurisdiction to issue the requested warrant because it is "a

court of competent jurisdiction" as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a),

(b)(l)(A), & (c)(l)(A). Specifically, the Court is "a district court of the United States that

has jurisdiction over the offense being investigated." 18 U.S.C. § 2711(3)(A)(i).

                                    PROBABLE CAUSE

                                 Initiation of Investigation

       6.      In December 2017, agents began investigating a target, Stephan

CAAMANO, for manufacturing controlled substance with tablet press machines


                                              3
              2:18-mj-07130-EIL # 1    Page 5 of 30



purchased online from various companies based in China. Customs and Border

Protection agents had contacted the Drug Enforcement Administration's Springfield,

Illinois, Resident Office pertaining to several imported items seized by CBP that were

destined for delivery to CAAMANO.

         7.       CBP advised that on September 16, 2016, agents had seized a package

from Mijdrecht, The Netherlands, that was inbound to CAAMANO at an address of

2562 Le Conte Avenue, Berkeley, California; the package contained 29 grams of 3,4-

Methylenedioxymethamphetamine, or MDMA (commonly known as ecstasy). An open

records search identified the address as student housing for the University of

California-Berkeley; that residence was occupied by CAAMANO during his enrollment

there.

         8.       CBP further advised that on April 18, 2017, agents had seized a package

from Shanghai, China, that was inbound to CAAMANO at an address of 510 South Fair

Street, Champaign, Illinois; the package contained one turbine wheel box pill press

machine. The agents' investigation has not revealed any renter other than CAAMANO

at the time of the seizure.

         9.       CBP advised that on June 13, 2017, agents had seized a package from an

unknown shipper that was inbound to CAAMANO at an address of 1717 West Kirby

A venue,# 108, Champaign, Illinois; the package contained 109 grams of Fentanyl and

210 grams of Alprazolam (Xanax). That address corresponds to a mailing box at a UPS

store; agents have confirmed that CAAMANO rents that box.

                                               4
           2:18-mj-07130-EIL # 1      Page 6 of 30



       10.     CBP advised on July 13, 2017, agents had seized seven packages from

Shanghai, China, that were inbound to CAAMANO at an address of 202 South

Broadway Avenue, #142, Urbana, Illinois; these packages contained drilling machine

bolts for a tablet press machine. Agents have confirmed through United States Postal

Investigation Services that CAAMANO had rented Post Office Box 142 at this location,

the Urbana Post Office, during the time of the seizure.

       11.     I also obtained a copy of a University of Illinois Urbana-Champaign Police

Department (UIUC PD) report taken on October 25, 2016, where a campus housing

maintenance worker completing a work order request observed what was believed to

be drug related equipment at 2101 Hazelwood Ct., Apt 204, Urbana, Illinois. The Police

Department responded and spoke with the resident, CAAMANO, concerning the

equipment. CAAMANO advised the chemicals, pills, and tablet press machine were for

health supplement pills that he wanted to manufacture.

                      Surveillance of CAAMANO and Package Drop

       12.     On March 8, 2018, agents conducted surveillance of CAAMANO at his

residence, 1510 Glenshire Drive, Champaign, Illinois. 1 At approximately 10:00 a.m.,

agents observed CAAMANO depart his residence traveling eastbound on Kirby




       1  Agents previously had performed an open source records search and learned utilities
in Stephan CAAMANO's name had been established at 1510 Glenshire Drive, Champaign,
Illinois. Agents also had discovered via subpoenaed bank records that CAAMANO had
purchased the property in full with a wire transaction to the seller's bank under the business
name Longevity Realty Management LLC.

                                               5
         2:18-mj-07130-EIL # 1       Page 7 of 30



Avenue in a 2017 Toyota RAV4, blue in color, bearing Illinois License Plate AM93634,

and assigned vehicle identification number 2T3BFREV5HW647548. That vehicle is

registered to and known to be driven by CAAMANO. Agents observed CAAMANO

arrive in the RAV4 at a United States Postal Service drop box located near 2012 Round

Barn Road, Champaign, Illinois. Agents then observed and video recorded

CAAMANO as he removed yellow manila envelopes from the rear passenger area of

his vehicle multiple times and deposited said manila envelopes into the USPS drop box.

       13.    That same morning, while maintaining surveillance of the drop box,

agents contacted the United States Postal Inspection Service so that they could visually

inspect the manila envelopes deposited in the USPS drop box by CAAMANO. USPIS

sent a mail carrier to open the drop box near 2012 Round Barn Road, Champaign,

Illinois, and to collect all mail from inside the drop box.

       14.    Later that morning, at approximately 11:15 a.m., agents met with the USPS

mail carrier at the Round Barn Road location. Prior to the mail carrier's arrival, agents

confirmed via surveillance that no other individuals had gained access to the USPS

drop box or tampered with its contents. With assistance from the USPS mail carrier,

agents were able to visually inspect the contents of the drop box and observed 33

yellow manila envelopes matching in appearance the yellow manila envelopes agents

previously saw CAAMANO depositing into the drop box. No other item in the drop

box outside those 33 envelopes was comparable to the items agents observed and video

recorded CAAMANO depositing in the drop box.

                                              6
         2:18-mj-07130-EIL # 1       Page 8 of 30



       15.    Also on March 8, 2018, at approximately 2:00 p.m., agents traveled to the

United States Post Office, located at 600 North Neil Street, Champaign, Illinois, where

the USPS mail carrier who assisted at the USPS drop box near 2012 Round Barn Road,

Champaign, Illinois, had directly taken the 33 manila envelopes identified as matching

the manila envelopes deposited by CAAMANO.

       16.    Agents visually inspected each of the 33 manila envelopes and observed

that the return sender on each of the 33 envelopes was listed as a "Colin H. Taylor".

Agents also observed a shipping company, EasyPost, had created the shipping label on

each envelope, and all envelopes had the same Easy Post account number: C26321.

       17.    Agents interviewed the USPS mail carrier who advised similar manila

envelopes had been deposited into four USPS drop boxes in the vicinity of Mattis

Avenue and Kirby Avenue in Champaign, Illinois, each day for more than a year. The

mail carrier estimated the number of manila envelopes to be between 50 and 100 among

the four drop boxes each day.

       18.    The USPS mail carrier stated he made a formal complaint in March 2017 to

management about the quantity of manila envelopes, which had been making his

collection duties very difficult to complete. The mail carrier advised that at the time of

the complaint his management contacted the shipper, identified as "Sharon Lee", and

advised a non-fictitious mailing address was required, otherwise the manila envelopes

would not be shipped. The mail carrier provided a photograph to agents of a manila

envelope seen in March 2017 bearing the return shipping name "Sharon Lee". Agents

                                             7
         2:18-mj-07130-EIL # 1      Page 9 of 30



observed the shipping label was created by EasyPost and was associated with the same

account number: C26321.

                      Recovery ofAlprazolam in Champaign County

       19.    On March 9, 2018, agents received information from the Champaign

County Sheriff's Office concerning an incident report involving recovered property. On

February 21, 2018, the Sheriff's Office took a report at 3206 Halifax Drive, Apartment B,

Champaign, Illinois, in which a female subject, identified as T.A., received four boxes

delivered to her by USPS, each identifying her as the "return sender". T.A. told the

Sheriff's Office that she did not send any boxes and opened one to check its contents.

Upon inspection, T.A. observed three gray packages, wrapped in bubble wrap, inside

the box. T.A. then opened one gray package and discovered numerous pills, all marked

with "Xanax" on each pill. T.A. relinquished custody of the four boxes and their

contents to the Sheriff's Office.

       20.    Agents reviewed photographs taken of the shipping labels on the four

boxes and observed a shipping label created by EasyPost with the same account

number as the one used on envelopes bearing the return address names "Colin H.

Taylor" and "Sharon Lee". The EasyPost account number was C26321.

       21.    On March 12, 2018, agents took custody of the four boxes and their

contents from the Sheriff's Office. Agents inspected the contents and confirmed the four

boxes were each filled with three packages. Each of the three packages contained

numerous white elongated pills. Agents observed that each pill bore the marking


                                            8
           2:18-mj-07130-EIL # 1    Page 10 of 30



"Xanax" on one side and the marking "2" on the other side, which markings are

consistent with pills made by the pharmaceutical manufacturer Pfizer. Agents could tell

upon inspecting the pills through the plastic packaging that several of the pills had

lighter markings, indicating possible counterfeit production. On March 27, 2018,

laboratory results returned indicating the pills were all alprazolam (Xanax) with a 95%

level of confidence and numbered 83,538 dosage units (total pills).

                             Cleveland Alprazolam Package

       22.     Meanwhile, on March 8, 2018, Cleveland Police Department Detective

John Dlugalinski reported USPS Parcel 9405536897846313514706 (Easy Post) to United

States Postal Inspection Services Investigator Bryon Green. The parcel was addressed to

3740 Euclid Ave, Cleveland, Ohio, 44115, and was turned over by a resident who had

no knowledge of the parcel. The parcel originated in Urbana, Illinois. The parcel

contained more than 1,000 alprazolam pills; the presence of alprazolam was confirmed

by the Cuyahoga County Laboratory on March 22, 2018.

       23.     On March 22, 2018, Investigator Green identified associated mailings

going to Nicholas Armstrong2 at 1443 E. 25th St. in Cleveland, Ohio 44114. These

parcels, like those deposited by CAAMANO into the mail drop box in Champaign,




       2
         Armstrong was a co-defendant with Nick J. Powell in Cuyahoga County Case #CR-15-
593701-B. Powell currently resides in Florida and is under investigation by New York USPIS
Investigator Michael Slavkovsky and others in relation to alprazolam sales on the darkweb.


                                            9
           2:18-mj-07130-EIL # 1       Page 11 of 30



Illinois, had a return address of Colin H. Taylor, 2105 S. Zuppke Dr., Urbana, Illinois,

and were associated with EasyPost account C26321.

       24.     On March 26, 2018, Investigator Green, along with Homeland Security

Investigations and the Drug Enforcement Administration, conducted a controlled

delivery of the parcels destined for Armstrong. Agents detained Armstrong after he

took custody of the parcels and returned to his residence. Armstrong signed a consent

form permitting law enforcement agents to search his residence, which resulted in the

recovery of the two parcels associated with EasyPost account C26321, along with

various narcotics, numerous Priority Mailing envelopes, label makers, and a food saver

machine with plastic bags commonly used for vacuum packaging.

       25.     Armstrong provided a statement to agents and advised he purchased the

"Xanax" (alprazolam) that was recovered from the parcels from a darkweb vendor that

Armstrong had found on a Reddit forum. He identified the Reddit user as

"Googleplex". Armstrong stated that "Googleplex" sells "Xanax" on the Dream

Market, but advised that he purchased directly from "Googleplex" by sending Monero3

cryptocurrency to a wallet4 provided by "Googleplex". Armstrong stated he




       3
          An open-source cryptocurrency that focuses on privacy and decentralization. Monera
uses a public ledger to record transactions while new units are created through a process called
mining. Monera aims to improve on existing cryptocurrency design by obscuring sender,
recipient, and amount of every transaction made, as well as making the mining process more
egalitarian.
       4
         A "wallet" or cryptocurrency wallet stores the public and private keys, which can be
used to receive or spend the cryptocurrency. A wallet can contain multiple public and private
                                               10
          2:18-mj-07130-EIL # 1          Page 12 of 30



communicates with "Googleplex" via email. Armstrong stated he ordered from

"Googleplex" three times in amounts of $5,000.00, $5,000.00, and $4,000.00 and paid

"Googleplex" $0.60 per "Xanax" pill.

        26.      In performing a Google search using keywords "Googleplex Reddit",

agents were able to see URL results ranging from 2016 to 2018, which referenced

"Googleplex" and discussed dark web transactions and "Xanax".

                                         PayPal Purchases

        27.      On December 19, 2017, and March 1, 2018, I issued administrative

subpoenas to PayPal for information regarding purchases funded by Navy Federal

Credit Union checking account 7029731721 belonging to CAAMANO. These purchases

were made via PayPal accounts that were registered using the Google, Inc. email

accounts stephancho@g:mail.com, Stephan4096@g:mail.com, Mexacc702x@g:mail.com,

and torimoneybag:s@g:mail.com.

              a. Email account stephancho@g:mail.com was registered to PayPal account

                 1662394575525739130 that was used to purchase Firmapress, a

                 pharmaceutical binding agent, from the company LFA Machines Oxford

                 Ltd on April 4, 2017.




key pairs. The cryptocurrency itself is not in the wallet. The cryptocurrency is decentrally
stored and maintained in a publically available ledger. With a private key, it is possible to write
in the public ledger in order to spend the cryptocurrency.

                                                II
2:18-mj-07130-EIL # 1    Page 13 of 30



 b. Email accounts stephancho@gmail.com and stephan4096@gmail.com were

    registered to PayPal account 1928865671187482181 used to purchase

    Firmapress, a pharmaceutical binding agent, from company LFA

    Machines Oxford Ltd on September 19, 2016; December 14, 2016;

    December 19, 2016; March 6, 2017; April 19, 2017; May 19, 2017; June 25,

    2017; July 12, 2017; September 4, 2017; and September 29, 2017. This same

    account was used to purchase from LFA Machines Oxford Ltd a RTP 9

    Rotary Tablet Press on April 26, 2017 and a Tablet Dust Vacuum on

   August 8, 2017. This account also was used to purchase additional tablet

   press machines from vendor eb@senders-inc.com on December 14, 2016,

   and vendor cabbo@live.cn on December 22, 2016; binding and tablet

   machine parts from vendor petter.su@outlook.com on February 6, 2017,

    and March 26, 2017; and oval and polygon punch stamp molds for tablet

   press machines from vendor weiping002@hotmail.com on December 21,

   2016.

c. Email account Mexacc702x@gmail.com was registered to PayPal account

   2073608850950743797 used to purchase a 20-liter Mixer Pharma machine

   and rotary press machine from vendor Capsulcn International Company

   Ltd on March 12, 2017, and March 28, 2017.

d. Email account torimoneybags@gmail.com was registered to PayPal

   account 2207517011988366384 used to purchase a 20-liter Mixer Pharma

                                 12
         2:18-mj-07130-EIL # 1        Page 14 of 30



                machine from vendor Capsulcn International Company Ltd on August 18,

                2016; a single punch tablet press machine from vendor Xie Dian Mou on

                September 6, 2016; a Xanax punching mold die set stamping mold for a

                tablet press machine from vendor {i @ffi on October 6, 2016; and polygon

                die stamp molds for a tablet press machine from vendor Ping Wei on

                October 6, 2016.

                          Trash Pulls and Additional Surveillance

       28.      Throughout the course of this investigation, law enforcement agents have

conducted a series of trash pulls at 1510 Glenshire Dr. and at Stephan CAAMANO's

rental address: 510 S. Fair Street, Champaign, Illinois, 61821.

       29.      Trash pulls on the following dates at 1510 Glenshire Dr. have revealed

items including but not limited to:

             a. January 24, 2018: Shipping labels addressed to CAAMANO at 1510

                Glenshire Dr. and a known prior residence from Provident Machine

                Bearings, a precious metals dealer, and NutraHealthSupply.com, a

                nutrition bodybuilding supplement provider); numerous shredded plastic

                pieces with some sort of residue from what appeared to be several

                commercial grade plastic Ziploc bags; and a Netgear router instruction

                manual.

             b. January 31, 2018: (1) A Budget rental agreement, showing that on August

                27, 2017, CAAMANO rented a 26-foot diesel cargo trailer to move

                                             13
2:18-mj-07130-EIL # 1       Page 15 of 30



    property from 510 S. Fair Street, Champaign, Illinois, to 1510 Glenshire

    Dr.. (2) A shipping label addressed to Stephen CAAMANO at 1510

    Glenshire Dr. The sender on the shipping label was Choetech, a company

    based in Lexington, Kentucky. Agents' research has revealed that the

    company is a supplier of electronic and computer accessory items, such as

    charging cords and USB connecting cables.

 c. April 11, 2018: Numerous items including utility bills for 510 S. Fair Street,

    tax forms associated with CAAMANO, documentation of Post Office Box

    openings and closings, and a Navy Federal Credit Union mailing to

    CAAMANO. Agents also discovered a Christmas card to CAAMANO

    from Veldt Gold, a company known to sell precious metals in exchange

    for virtual currency.

 d. April 25, 2018: Two Amazon shipping labels addressed to Eli LEE at 1510

    Glenshire Drive.

 e. May 23, 2018: Assorted shipping materials, including mylar packaging,

    vacuum sealer roll packaging, and unused shipping labels; assorted

    packaging envelopes addressed to CAAMANO at 1510 Glenshire Dr., 510

    South Fair Street, and 302 East Green Street, Unit 2394, in Champaign,

    Illinois; a used Ziploc bag with powdery residue; industrial plastic bag

    with "DNP 200mg" written in marker; and a Provident Metals magnet

    (the precious metals dealer mentioned previously).

                                  14
         2:18-mj-07130-EIL # 1         Page 16 of 30



       30.      Trash pulls on the following dates at 510 S. Fair Street, Champaign,

Illinois, 61821, have revealed items including but not limited to:

             a. March 27, 2018: Two shipping documents addressed to CAAMANO at

                510 S. Fair Street; three glass beakers; a charging device; a plastic bag with

                a white powdery residue; two plastic cups with white powdery residue;

                and six unopened packages of powder supplements.

             b. May 8, 2018: 18 metal container rings and clamps, along with 15 metal

                lids. Many of the lids contained a powdery residue. All shipping labels on

                the metal lids had been forcibly removed, preventing agents from learning

                the shipper or container contents. Agents believe the clamps and lids were

                part of the packaging used to ship Firmapress, a pill binding agent, from

                LFA Machines, LLC.

                  Residential Search Warrants at Glenshire and Fair Residences

      31.       On May 27, 2018, residential search warrants were executed at 1510

Glenshire Drive and 510 South Fair Street in Champaign, Illinois. Stephan

CAAMANO's rental residence, 510 South Fair Street, was largely empty, although law

enforcement agents found various metal machine parts, proof of residency, an

instruction manual for a scale, a Toshiba laptop, and a cutting agent powder.

      32.       At the 1510 Glenshire Drive address, agents found one zp9 rotary tablet

press, two 20L mixing machines, 3 commercial grade scales, 3 heavy duty vacuum

sealing machines, multiple large plastic bins and containers used to sort and mix


                                              15
         2:18-mj-07130-EIL # 1      Page 17 of 30



powders used to press pills, a container filled with binding agent Firmapress, pressed

counterfeit Xanax bars, non-prescribed steroids, doping masking agents, non-FDA

approved tramadol and domperidone medicines, tryptamine (psychedelic), multiple

materials used for packaging and shipping items via registered mail, multiple cellular

devices, and several computers and computer related components containing

memory /hard drive space. The pill press had been partially taken apart. Agents also

discovered a laptop cord to a Toshiba laptop. Agents did not encounter all of the pill

presses CAAMANO appeared to have purchased via PayPal. Additionally, agents

located empty shipping packages addressed to Eli LEE at 1510 Glenshire Dr. and a bill

addressed to Eli LEE.

                                    Evernote Account

       33.    Information was obtained from a cellular device, taken at the time of

CAAMANO's arrest, which showed numerous accounts activated on the device. One

of those accounts was listed as Evemote and associated to Google account

Stephan4096@gmail.com, one of the email accounts associated with a PayPal account

used to purchase pill presses and other materials. Also found on the cellular device was

evidence of cryptocurrency and TOR applications, which suggested the device had been

set up to assist CAAMANO with dark web activities.

       34.    On May 29, 2018, agents sent a preservation request to Evernote

pertaining to all records associated under email account Stephan4096@gmail.com. In

general, electronic data sent to an Evernote subscriber is stored in the subscriber's


                                            16
           2:18-mj-07130-EIL # 1     Page 18 of 30



account information or Evernote forums on Evernote servers until the subscriber deletes

the electronic data. If the subscriber does not delete the data, the data can remain on

Evernote Corporation servers indefinitely. Even if the subscriber deletes the data, it may

continue to be available on Evernote' s servers for a certain period of time.

               ADDITIONAL BACKGROUND REGARDING EVERNOTE

         35.   In my training and experience, I have learned that Evernote Corporation

provides an on-line service to the public to take notes, organize, create task lists, and

archive data, including but not limited to email messages. Evernote Corporation allows

subscribers to use Evernote by linking it to a Google, Inc. email account or to another

other email service. During the registration process, Evernote Corporation asks

subscribers to provide basic personal information. Therefore, the computers of

Evernote Corporation are likely to contain stored electronic communications and

information concerning Evernote Corporation services, such as account access

information, email transaction information, and account application information. In my

training and experience, such information may constitute evidence of the crimes under

investigation because the information can be used to identify the account's user or

users.

         36.   An Evernote Corporation subscriber also can store with the provider files

in addition to emails, such as address books, contact or buddy lists, calendar data,

pictures (other than ones attached to emails), documents, and other files, on servers

maintained and/ or owned by Evernote Corporation. These other services, files and/ or


                                             17
         2:18-mj-07130-EIL # 1      Page 19 of 30



information may include: voice number; customer phone number; customer name and

date of birth; other email address; names - including subscriber names, user names, and

screen names; addresses - including payment addresses, mailing addresses, residential

addresses, business addresses, and email addresses; local and long distance telephone

records; telephone or instrument numbers (including MAC addresses, ESNs, MEINs,

MEIDs, MINs, SIMs, MSISDNs, IMSis, or IMEis); and other subscriber numbers or

identities, including the IP address and Port number. These records may also include

purchase and sales records, virtual currency transactions, other financial records and

information. In my training and experience, evidence of who was using an account may

be found in address books, contact or buddy lists, email or other messages in the

account, attachments to emails, including pictures and files, and other records and

information saved in the account.

      37.    In my training and experience, application providers generally ask their

subscribers to provide certain personal identifying information when registering for an

electronic storage account. Such information can include the subscriber's full name,

physical address, telephone numbers and other identifiers, alternative email addresses,

and, for paying subscribers, means and source of payment (including any credit or bank

account number). In my training and experience, such information may constitute

evidence of the crimes under investigation because the information can be used to

identify the account's user or users. Based on my training and my experience, I know




                                           18
         2:18-mj-07130-EIL # 1        Page 20 of 30



that, even if subscribers insert false information to conceal their identity, this

information often provides clues to their identity, location, or illicit activities.

       38.    In my training and experience, application providers typically retain

certain transactional information about the creation and use of each account on their

systems. This information can include the date on which the account was created, the

length of service, records of log-in (i.e., session) times and durations, the types of service

utilized, the status of the account (including whether the account is inactive or closed),

the methods used to connect to the account (such as logging into the account via the

provider's website), and other log files that reflect usage of the account. In addition,

application providers often have records of the Internet Protocol address ("IP address")

used to register the account and the IP addresses associated with particular logins to the

account. Because every device that connects to the Internet must use an IP address, IP

address information can help to identify which computers or other devices were used to

access the email account.

       39.    In my training and experience, in some cases, application account users

will communicate directly with an email service provider about issues relating to the

account, such as technical problems, billing inquiries, or complaints from other users.

Application providers typically retain records about such communications, including

records of contacts between the user and the provider's support services, as well as

records of any actions taken by the provider or user as a result of the communications.

In my training and experience, such information may constitute evidence of the crimes


                                              19
            2:18-mj-07130-EIL # 1       Page 21 of 30



under investigation because the information can be used to identify the account's user

or users.

        40.     In my training and experience, individuals use applications like Evernote

to save important data, communications and records, which may include evidence of

criminal activity, including but not limited to email and other messages, purchase and

sales transactions, financial data and accounts, and passwords to dark web sites and

accounts.

        41.     This application seeks a warrant to search all responsive records and

information under the control of Evernote Corporation, a provider subject to the

jurisdiction of this court, regardless of where Evernote Corporation has chosen to store

such information. The government intends to require the disclosure pursuant to the

requested warrant of the contents of wire or electronic communications and any records

or other information pertaining to the customers or subscribers if such communication,

record, or other information is within Evernote Corporation's possession, custody, or

control, regardless of whether such communication, record, or other information is

stored, held, or maintained outside the United States. 5




       5
         It is possible that Evernote Corporation stores some portion of the information sought
outside of the United States. In Microsoft Corp. v. United States, 2016 WL 3770056 (2nd Cir. 2016),
the Second Circuit held that the government cannot enforce a warrant under the Stored
Communications Act to require a provider to disclose records in its custody and control that are
stored outside the United States. As the Second Circuit decision is not binding on this court, I
respectfully request that this warrant apply to all responsive information- including data
stored outside the United States-pertaining to the identified accotmt that is in the possession,
                                                20
          2:18-mj-07130-EIL # 1       Page 22 of 30



       42.     As explained herein, information stored in connection with an application

account may provide crucial evidence of the "who, what, why, when, where, and how"

of the criminal conduct under investigation, thus enabling the United States to establish

and prove each element or alternatively, to exclude the innocent from further suspicion.

In my training and experience, the information stored in connection with an application

account can indicate who has used or controlled the account. This "user attribution"

evidence is analogous to the search for "indicia of occupancy" while executing a search

warrant at a residence. For example, email communications, contacts lists, and images

sent (and the data associated with the foregoing, such as date and time) may indicate

who used or controlled the account at a relevant time. Further, information maintained

by the application provider can show how and when the account was accessed or used.

For example, as described below, application providers typically log the Internet

Protocol (IP) addresses from which users access the email account, along with the time

and date of that access. By determining the physical location associated with the logged

IP addresses, investigators can understand the chronological and geographic context of

the application account access and use relating to the crime under investigation. This

geographic and timeline information may tend to either inculpate or exculpate the

account owner. Additionally, information stored at the user's account may further




custody, or control of Evernote Corporation. The government also seeks the disclosure of the
physical location or locations where the information is stored.

                                              21
          2:18-mj-07130-EIL # 1      Page 23 of 30



indicate the geographic location of the account user at a particular time (e.g., location

information integrated into an image or video sent via email). Last, stored electronic

data may provide relevant insight into the application account owner's state of mind as

it relates to the offense under investigation. For example, information in the application

account may indicate the owner's motive and intent to commit a crime (e.g.,

communications relating to the crime), or consciousness of guilt (e.g., deleting

communications in an effort to conceal them from law enforcement).

                                      CONCLUSION

       43.      Based on the forgoing, I request that the Court issue the proposed search

warrant. Because the warrant will be served on Evernote Corporation, who will then

compile the requested records at a time convenient to it, reasonable cause exists to

permit the execution of the requested warrant at any time in the day or night.



                                               Respectfully submitted,

                                                  s/Todd M. Emery

                                               Todd~
                                               Special Agent
                                               Drug Enforcement Administration



       Subscribed and sworn to before me on -~'1,./-~-'--1.----_________, 2018
                                                     J
   s/Eric I. Long

                               ---------
       The Honorable Eric I. Long
       UNITED STATES MAGISTRATE JUDGE

                                             22
        2:18-mj-07130-EIL # 1     Page 24 of 30



                                  ATTACHMENT A

                               Property to Be Searched

       This warrant applies to information associated with Evernote account associated
to email stephan4096@gmail.com, that is stored at premises owned, maintained,
controlled, or operated by Evernote Corporation, a company headquartered at 305
Walnut Street, Redwood City, California, 94063.
         2:18-mj-07130-EIL # 1        Page 25 of 30



                                    ATTACHMENTB

                              Particular Things to be Seized

   I.     Information to be disclosed by Evernote Corporation (the "Provider")

        To the extent that the information described in Attachment A is within the
possession, custody, or control of the Provider, regardless of whether such information
is stored, held or maintained inside or outside of the United States, and including any
emails, records, files, logs, or information that has been deleted but is still available to
the Provider, or has been preserved pursuant to a request made under 18 U.S.C. §
2703(f) on date April 5, 2018, the Provider is required to disclose the following
information to the government for each account or identifier listed in Attachment A:

   (a) The contents of all emails or other communications associated with the account,
       including stored or preserved copies of communications, draft messages, the
       source and destination addresses associated with each message, the date and
       time at which each message was sent, drafted or saved, and the size and length
       of each message;

   (b) All records or other information regarding the identification of the account, to
       include full name, physical address, telephone numbers and other identifiers;
       records of session times and durations; the date on which the account was
       created; the length of service; the IP address used to register the account; log-in
       IP addresses associated with session times and dates; account status; alternative
       email addresses provided during registration; methods of connecting; log files;
       and means and source of payment (including any credit or bank account
       number);

   (c) The types of service utilized to include, but not limited to the following:

                  1.   Voice Number

                 11.   Customer Phone Number

                 m. Customer Name and Date of Birth

                 1v. Other Email Address

   (d) Names - including subscriber names, user names, and screen names;

   (e) Addresses - including payment addresses, mailing addresses, residential
       addresses, business addresses, and email addresses;
        2:18-mj-07130-EIL # 1      Page 26 of 30




   (f) Local and long distance telephone records

   (g) Telephone or instrument numbers (including MAC addresses, ESNs, MEINs,
       MEIDs, MINs, SIMs, MSISDNs, IMSis, or IMEis;

   (h) Other subscriber numbers or identities, including the IP address and Port
       number;

   (i) All records or other information stored at any time by an individual using the
       account, including address books, contact and buddy lists, calendar data,
       pictures, financial data, purchase and sales records, and other files;

   (j) All records pertaining to communications between the Provider and any person
       regarding the account, including contacts with support services and records of
       actions taken; and

   (k) For all information required to be disclosed pursuant to this warrant, the
       physical location or locations where the information is stored.

      The Provider is hereby ordered to disclose the above information to the
government within 14 days of the issuance of this warrant.
              2:18-mj-07130-EIL # 1     Page 27 of 30



    II.        Information to be Seized by the Government

        All information described above in Section I that constitutes fruits, contraband,
evidence, and instrumentalities of violations of 21 U.S.C. §§ 841(a) and 846, those
violations involving Stephan CAAMANO (Evemote account associated with
stephan4096@gmail.com) and occurring after January 1, 2016, through the present,
including, for each account or identifier listed in Attachment A, information pertaining
to the following matters:

               (a) Any and all documents, records or information 1 relating to the purchase,
                   sale, importation, possession, shipment, tracking, delivery or distribution
                   of controlled substances, to include information regarding dark web or
                   dark web marketplaces; conversations about Xanax, narcotics, drugs, or
                   any pharmaceutical pills or materials; and "preparatory steps taken in
                   furtherance of the scheme;

               (b) Any and all documents, records or information relating to the purchase,
                   sale, importation, possession, shipment, tracking, delivery or distribution
                   of packaging materials;

               (c) Any and all documents, records or information relating to the purchase,
                   sale, tracking, delivery or distribution of postage or express mail
                   consignment;

               (d) Any and all documents, records or information relating to the transfer,
                   purchase, sale or disposition of virtual currency;

               (e) Any and all documents, records or information relating to the transfer,
                   purchase, sale or disposition of precious metals;

               (f) Any and all documents, records or information relating to the operation of
                   money transmitting businesses;

               (g) Any and all documents, records, or information relating to the access,
                   creation and maintenance of websites and hidden (Tor-based) services;

               (h) Any and all documents, records, or information relating to email accounts
                   used in furtherance of these offenses;



         As used above and on, the terms "records" and "information" includes all forms of
          1

creation or storage, including any form of computer or electronic storage.
           2:18-mj-07130-EIL # 1       Page 28 of 30



            (i) Any and all records or other items which are evidence of ownership or
                use of computer or other electronic equipment, including, but not limited
                to, sales receipts, bills for internet access, and digital manuals.

            (j) Any and all records relating to an indicia of occupancy, residency, and
                ownership or use of rental or purchased properties, including, but not
                limited to, utility and telephone bills; rental, purchase or lease agreements;
                and identification documents;

            (k) Any and all records of any address and/ or telephone books, and any
                records or electronic data reflecting names; addresses; telephone numbers;
                pager numbers of co-conspirators; sources of controlled substances,
                precious metals and/ or virtual currency; identifying information for
                customers purchasing controlled substances; and/ or virtual currency;

            (1) Any and all bank records, checks, credit card bills, account information,
                safe deposit box information and other financial records;

            (m)        Any and all copies of income tax returns filed with the Internal
                  Revenue Service (IRS) or the Illinois Depa.rtment of Revenue;


            (n) Evidence of who used, owned, or controlled the account at the time the
                things described in this warrant were created, edited, or deleted, such as
                logs, registry entries, configuration files, saved usernames and passwords,
                documents, access history, user profiles, email, email contacts, "chat,"
                instant messaging logs, photographs, and correspondence;

            (o) Evidence of the times the account was accessed;

            (p) Passwords, encryption keys, and other access devices;

           (q) Contextual information necessary to understand the evidence described in
               this attachment;

           (r) Evidence of internet activity, including screenshots or other downloads
               from the Internet;
           (s) Any and all records and information regarding hidden services accounts2


       2
        Hidden services (.onion services) are accessed through the Tor anonymity network.
Most are considered dark web services with no legitimate or identified service provider to
which legal process may be served.
           2:18-mj-07130-EIL # 1      Page 29 of 30



               used in furtherance of the offenses described above, including, but not
               limited to, darknet market accounts, associated darknet forum accounts
               and Tor-based email accounts.

            (t) Any and all records and information regarding peer to peer (P2P) virtual
                currency trading platform accounts, including, but not limited to,
                localbitcoins.com3 accounts or bitcon-otc internet relay chat channel4
                accounts.

            (u) Any and all records and information regarding virtual currency in any
                format, including but not limited to, wallets (digital and paper), public
                keys (addresses) and private keys.

            (v) Evidence indicating how and when the account was accessed or used, to
                determine the geographic and chronological context of account access,
                use, and events relating to the crime under investigation and to the
                account owner;

            (w)Evidence indicating the account owner's state of mind as it relates to the
               crime under investigation;

            (x) The identity of the person(s) who created or used the user ID, including
                records that help reveal the whereabouts of such person(s).

       3 Loca!Bitcoins, OY (and their associated web platform, localbitcoins.com "LBC") is a
Finnish company which is not a licensed money transmitting business registered with the U.S.
Government and compliant with the Bank Secrecy Act, which requires establishment and
maintenance of anti-money laundering (AML) programs in accordance with know your
customer (KYC) rules, such as identifying persons involved in currency transactions over
certain thresholds. LBC is not considered a legitimate service provider to which legal process
may be served for accurate subscriber information or account seizure.
       4  Internet Relay Chat (IRC) is a decentralized chat system which enables people with an
installed client (computer program which sends and receives messages to and from an IRC
server via the internet) to join in live discussions with anyone else connected in the same
manner. The IRC server ensures that all messages are broadcast to everyone participating in a
discussion. There can be many discussions going on at once; each one is assigned a unique
channel. One such channel is #bitcoin-otc, in which virtual currency trades are negotiated and
arranged. All transactions that may occur are conducted directly between counterparties,
without any participation or intermediation from the hosts of IRC servers, and therefore no
entity to which legal process may be served for accurate subscriber information, transactional
history or account seizure.
2:18-mj-07130-EIL # 1    Page 30 of 30




 (y) The identity of the person(s) who communicated with the user ID about
     matters relating to manufacturing and distributing counterfeit
     pharmaceuticals/narcotics, including records that help reveal their
     whereabouts.
